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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


SEVEN NETWORKS, LLC

               Plaintiff,                                 Civil Action No. 3:21-cv-01036-N

       v.

MOTOROLA MOBILITY LLC,                                    JURY TRIAL DEMANDED

               Defendant.


    SEVEN’S OPPOSITION TO MOTOROLA’S MOTION FOR LEAVE TO FILE A
     SURREPLY REGARDING PLAINTIFF’S MOTION TO COMPEL [DKT. 169]

       Motorola’s sur-reply relates to the Sonrai expert reports, one of three issues remaining in

SEVEN’s Motion to Compel Motorola to Produce Documents and Discovery. Dkt. 151; Dkt. 163-

01. There is no need for Motorola to file a sur-reply because SEVEN withdrew this issue following

Motorola’s new revelation that Motorola destroyed the Sonrai reports. See Dkt. 170 (Notice).

       As SEVEN explained in its Notice, SEVEN spent considerable time and effort meeting

and conferring, corresponding, and briefing this issue over four months while Motorola made the

sole objection that the reports contain third-party confidential information. See Dkt. 140-04 at

APPX0245. Motorola never advised SEVEN that the reports SEVEN sought had been destroyed

until SEVEN had already met and conferred numerous times on this issue, filed a motion to

compel, and fully briefed the motion. See Dkt. 170-01 (email thread). And when Motorola first

informed SEVEN of the destruction a week after the motion briefing concluded, Motorola

repeatedly refused to answer when it first learned the reports were destroyed, presumably because

it never bothered to investigate the issue until after it wasted SEVEN’s and the Court’s time. Id.

Regardless, the issue in the sur-reply is moot. Motorola’s Motion should be denied, and SEVEN


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respectfully requests that the Court consider the remaining two issues in its Motion to Compel.

Dated: July 17, 2023                                Respectfully submitted

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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above and foregoing document has been

served on all counsel of record via CM/ECF on July 17, 2023.

                                                    /s/ Kevin Schubert
                                                    Kevin Schubert




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